(1 of 2), Page 1 of 2       Case: 24-5566, 12/20/2024, DktEntry: 14.1, Page 1 of 2


                                                No. 24-5566


                           IN THE UNITED STATES COURT OF APPEALS
                                   FOR THE NINTH CIRCUIT
                                           ____________________

                                            GARY SANCHEZ,
                                                    Plaintiff and Appellant,

                                                     V.

                              ROB BONTA, IN HIS OFFICIAL CAPACITY AS
                            ATTORNEY GENERAL OF THE STATE OF CALIFORNIA,
                                                  Defendant and Appellee.
                                           ____________________

                            On Appeal from the United States District Court
                                for the Southern District of California
                                       No. 24-cv-767-RSH-MSB
                                  Hon. Robert S. Huie, District Judge
                                           ____________________

                        APPELLEE’S SUPPLEMENTAL EXCERPTS OF RECORD
                                       INDEX VOLUME
                                           ____________________

             ROB BONTA                                    KEVIN L. QUADE
              Attorney General of California               Deputy Attorney General
             THOMAS S. PATTERSON                          CALIFORNIA DEPARTMENT OF JUSTICE
              Senior Assistant Attorney General           1300 I Street, Suite 125
             R. MATTHEW WISE                              P.O. Box 944255
             JOHN D. ECHEVERRIA                           Sacramento, CA 94244-2550
              Supervising Deputy Attorneys General        Telephone: (916) 210-7693
                                                          E-mail: Kevin.Quade@doj.ca.gov
                                                           Attorneys for Defendant and Appellee
(2 of 2), Page 2 of 2       Case: 24-5566, 12/20/2024, DktEntry: 14.1, Page 2 of 2




                 SUPPLEMENTAL EXCERPTS OF RECORD - INDEX
                             Document                        File Date     USDC      SER No.
                                                                            Dkt.
                                                                            No.

                                            VOLUME 1 OF 2

                     Judgment in a Civil Case                08/28/24         18        2
                Order Granting Defendant’s Motion            08/28/24         17       3-9
                            to Dismiss

                                            VOLUME 2 OF 2

                Plaintiff’s Opposition to Defendant’s        06/28/24         13      11-16
                          Motion to Dismiss
                Exhibit A to Plaintiff’s Opposition to       06/28/24       13-1      17-23
                   Defendant’s Motion to Dismiss
                   Complaint for Declaratory and             04/29/24         1       24-33
                           Injunctive Relief
                           Notice of Appeal                  09/06/24         19      34-39
                        District Court Docket                  N/A           N/A      40-42
